                                    Case 18-21134-jra   Doc 24-1
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                                                              ✥   ✦   ✧   ★   ✩   ★   ✪
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✗   ✘   ✙   ✚   ✛   ✜   ✢   ✣   ✤
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                                                              ✵   ✶   ✷   ✸   ✹   ✸   ✺
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✬   ✭   ✮   ✯   ✰   ✱   ✲   ✳   ✴
✼   ✽       ✾               ✿               ❀               ❁   ❂               ❃               ❄




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                ✼                   ✽               ✾                   ✿               ❀                   ❁       ❂           ❃       ❄




                    ✼                   ✽               ✾                   ✿               ❀                   ❁       ❂           ❃       ❄




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        ✼               ✽       ✾               ✿                   ❀               ❁               ❂   ❃                   ❄
                                    Case 18-21134-jra   Doc 24-1   Filed 08/20/18   Page 7 of 17   ✵   ✶   ✷   ✸   ✹   ✸   ✺   ❆




✬   ✭   ✮   ✯   ✰   ✱   ✲   ✳   ✴
Case 18-21134-jra   Doc 24-1   Filed 08/20/18   Page 8 of 17   ❇   ❈   ❉   ❊   ❋   ❊   ●   ❍
Case 18-21134-jra   Doc 24-1   Filed 08/20/18   Page 9 of 17   ✏   ✑   ✒   ✓   ✔   ✓   ✕   ❅
Case 18-21134-jra   Doc 24-1   Filed 08/20/18   Page 10 of 17   ✏   ✑   ✒   ✓   ✔   ✓   ✕   ❅
Case 18-21134-jra   Doc 24-1   Filed 08/20/18   Page 11 of 17   ❇   ❈   ❉   ❊   ❋   ❊   ●   ❍
Case 18-21134-jra   Doc 24-1   Filed 08/20/18   Page 12 of 17   ✏   ✑   ✒   ✓   ✔   ✓   ✕   ❅
Case 18-21134-jra   Doc 24-1   Filed 08/20/18   Page 13 of 17   ✏   ✑   ✒   ✓   ✔   ✓   ✕   ❅
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                ✁       ✂       ✄           ☎       ✆       ✝   ✞   ✟
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                ❏       ❑       ▲           ▼       ◆   ❖      ◗   ❘




❏   ❑   ▲   ▼       ◆       ❖          ◗       ❘




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Case 18-21134-jra   Doc 24-1
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